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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X
ANONYMOUS,
                          Plaintiff,                            JUDGMENT
                 v.                                             23-CV-4563 (RPK) (PK)
JANE DOE,

                           Defendant.
----------------------------------------------------------- X
ANONYMOUS,
                          Plaintiff,                            JUDGMENT
                 v.                                             23-CV-4564 (RPK) (PK)
FAY MAUREEN BUTLER, et al.,

                           Defendants.
----------------------------------------------------------- X
ANONYMOUS,
                          Plaintiff,                            JUDGMENT
                 v.                                             23-CV-4673 (RPK) (PK)
CHRISENDATH SINGH, et al.,

                           Defendants.
----------------------------------------------------------- X
ANONYMOUS,
                          Plaintiff,                            JUDGMENT
                 v.                                             23-CV-4768 (RPK) (PK)
CHRISENDATH SINGH, et al.,

                           Defendants.
----------------------------------------------------------- X
         A Memorandum and Order of Honorable Rachel P. Kovner, United States District Judge,

having been filed on July 7, 2023, directing plaintiff to file amended complaints captioned with

her legal name, and to either pay the filing fee in each case or submit updated IFP applications

bearing her legal name; certifying under 28 U.S.C. § 1915(a)(3) that any appeal from this order

would not be taken in good faith, and denying in forma pauperis status for the purpose of an
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appeal, See Coppedge v. United States, 369 U.S. 438, 444–45 (1962); and an Order having been

filed on August 18, 2023, dismissing this case without prejudice; it is

       ORDERED and ADJUDGED that this action is dismissed without prejudice; that under

28 U.S.C. § 1915(a)(3), any appeal from this order would not be taken in good faith; and that in

forma pauperis status is denied for the purpose of an appeal. See Coppedge v. United States, 369

U.S. 438, 44445 (1962).

Dated: Brooklyn, NY                                          Brenna B. Mahoney
       August 21, 2023                                       Clerk of Court

                                                             By: /s/Jalitza Poveda
                                                                     Deputy Clerk
